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3
     Attorney for defendant,
4    Michael Ray Taylor, Jr.
5
                            UNITED STATES DISTRICT COURT
6
                    FOR THE EASTERN DISTSRICT OF CALIFORNIA
7

8                                               ) Case No. 2:12-CR-0375 KJM
     UNITED STATES OF AMERICA,                  )
9                                               ) STIPULATION AND PROPOSED
                   Plaintiff,                   ) ORDER EXTENDING TIME TO FILE
10                                              ) UNSECURED APPEARANCE BOND
           vs.                                  )
11                                              )
     MICHAEL RAY TAYLOR, JR.,                   )
12                                              )
                   Defendant.                   )
13

14
           On November 30, 2012, Mr. Michael Taylor, Jr., was released. He was
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     ordered to post a $20,000 unsecured appearance bond co-signed by Mr. Andy
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17   Gutierrez. Mr. Gutierrez resides in the Los Angeles area. Defense counsel is
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     informed and believes that Mr. Gutierrez has co-signed the appearance bond, and
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     that it is being sent by U.S. Mail to counsel’s office. It is anticipated that counsel
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21   will have the bond on December 10-11, 2012.
22         Counsel for defendant Michael Ray Taylor, Jr., Timothy E. Warriner, Esq.,
23
     and counsel for the government, Assistant U.S. Attorney Jared C. Dolan, hereby
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1
     stipulate and agree that the time to file the appearance bond be extended to

2    December 14, 2012.
3
     DATED: December 7, 2012                      /s/ Timothy E. Warriner, Attorney for
4                                                 Defendant, Michael Taylor, Jr.
5
     DATED: December 7, 2012                      /s/ Jared C. Dolan, Assistant
6                                                 U.S.Attorney
7

8

9
                                       ORDER
10
           GOOD CAUSE APPEARING, and pursuant to the stipulation of the parties,
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12   it is hereby ordered that the time to file the $20,000 appearance bond co-signed by
13
     Mr. Andy Gutierrez be extended to December 14, 2012.
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     DATED: December 10, 2012
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